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            EXHIBIT 11
              Motion for Temporary Restraining
              Order and Preliminary Injunction
                                                                 Case 3:20-cv-00132-RGJ Document 99-11 Filed 03/13/23 Page 2 of 3 PageID #: 3256


                                                Current Non-Profit Entities Filing IRS Tax Form 990 with the Attorney General
                                                                 Updated:   3/6/2023
 ID                       Name                          DBA      Contributions          Revenue          Yr Last         Address 1                  Address 2        City            State       Zip
                                                                                                          Filed
8047    Eastern High School Lacrosse Booster                                  $0.00             $0.00     2021     12400 Old Shelbyville                        Louisville      KY           40243
        Club, Inc.                                                                                                 Road
308     Eastern Kentucky University                                  $6,223,190.00      $13,222,862.00    2020     521 Lancaster Ave          Coates Box 15A    Richmond        KY           40475
        Foundation, Inc.
9702    Eastern Little League Baseball, Inc.                            $22,545.00        $299,520.00     2021     PO Box 21754                                 Lexington       KY           40522
13762   Eastern National                                             $3,019,102.00      $21,727,847.00    2020     470 Maryland Drive,                          Fort            PA           19034
                                                                                                                   Suite 1                                      Washington
7573    Eastern Virginia Medical School                             $18,448,443.00      $27,740,362.00    2020     PO Box 5                                     Norfolk         VA           23501-0005
        Foundation
14443   Eat. Learn. Play. Foundation                                $13,604,624.00      $13,607,001.00    2021     369 3rd Street                               Oakland         CA           94607
242     Echo Inc                                                     $4,849,888.00       $5,469,123.00    2021     17391 Durrance Rd                            N. Fort Myers   FL           33917-2212
6905    Echoing Hills Village, Inc.                                 $10,381,316.00      $39,796,645.00    2021     36272 C.R. 79                                Warsaw          OH           43844
4521    Ecohealth Alliance, Inc.                                    $11,465,094.00      $11,774,215.00    2020     520 Eighth Avenue, Suite                     New York        NY           10018
                                                                                                                   201
4457    Economic Development Properties,                                      $0.00        $34,730.00     2020     200 East 3rd Street                          Owensboro       KY           42303
        Inc
10814   EdChoice Kentucky, Inc.                                        $131,000.00        $131,000.00     2021     1042 Burlington Ln                           Frankfort       KY           40601
1357    EdChoice, Inc.                                               $9,054,335.00      $10,117,129.00    2021     111 Monument Circle,                         Indianapolis    IN           46204
                                                                                                                   Ste. 2650
4819    Edge Outreach, Inc.                     Water Step           $1,229,263.00       $1,360,263.00    2021     625 Myrtle Street                            Louisville      KY           40208
3890    Edith & Henry Heuser Hearing                                    $46,146.00       $1,709,772.00    2020     111 E Kentucky Street      Building B        Louisville      KY           40203
        Institute, Inc.
12833   Edmonton-Metcalfe County Chamber                                $31,446.00         $32,553.00     2021     P.O. Box 42                                  Edmonton        KY           42129
        of Commerce, Inc.
13576   Educating With Hope, Inc.                                             $0.00             $0.00     2021     1146 Walter Boone Road                       Rineville       KY           40162
12746   Education Development Center, Inc                          $166,712,464.00     $167,892,057.00    2020     300 Fifth Avenue Suite                       Waltham         MA           02453
                                                                                                                   2010
13408   Education For All Children                                   $1,476,759.00       $1,580,258.00    2021     104 Congress Street                          Portsmouth      NH           03801
14378   Education For Just Peace in Middle                           $1,503,086.00       $1,513,880.00    2021     PO Box 3609                                  Washington      DC           20027
        East DBA US Campaign for
        Palestinian Rights
15241   Educational Excellence Foundation of                            $17,187.00         $17,191.00     2021     813 Hawkins Street                           Carrollton      KY           41008
        Carroll Co, Inc.
10747   Educational Foundation of Alpha                              $3,210,729.00       $3,530,431.00    2020     1333 NW Vivion Rd Ste                        Kansas City     MO           64118-4554
        Gamma Rho                                                                                                  110
4794    Educational Media Foundation                               $241,047,367.00     $247,061,110.00    2021     5700 West Oaks Blvd                          Rocklin         CA           95765
14885   Edward Charles Foundation                                   $40,165,433.00      $41,333,882.00    2021     269 South Beverly Drive    Suite 338         Beverly Hills   CA           90212
13834   Edward Jones Disaster Relief Fund                              $132,937.00        $132,962.00     2021     12555 Manchester Road                        Saint Louis     MO           63131
6321    Eight Days of Hope, Inc.                                     $7,105,219.00       $7,295,049.00    2021     PO Box 3208                                  Tupelo          MS           38803
15065   Einstein School Foundation                                      $97,639.00         $97,639.00     2021     4011 West Plano Pkwy,                        Plano           TX           75093
9707    Eisenhower Foundation                                        $3,163,302.00       $3,166,180.00    2021     PO BOX 295                                   Abilene         KS           67410-0295
12461   EKentucky Advanced Manufacturing                             $2,470,376.00       $2,477,481.00    2021     P.O. Box 1718                                Paintsville     KY           41240
        Institute, Inc.
16229   EKY Heritage Foundation, Inc.                                  $402,000.00        $402,000.00     2021     51 Highway 2034                              Whitesburg      KY           41858
13821   EL Education, Inc.                                          $12,445,700.00      $30,858,452.00    2020     247 West 35th Street,                        New York        NY           10001
                                                                                                                   8th Floor
13439   Elam Ministries                                             $12,042,641.00      $12,042,641.00    2021     5755 Northpoint                              Alpharetta      GA           30022
                                                                                                                   Parkway, Suite 217
11870   Elana Brophy Memorial Foundation                                      $0.00             $0.00     2021     39 Hudson Avenue                             Lakeside        KY           41017
        Inc
12386   Elderheart, Inc.                        Mission 22           $6,187,725.00       $6,066,501.00    2021     694 N Larch St #910                          Sisters         OR           97759-0769
2953    Elderhostel, Inc. dba Road Scholar                           $4,238,585.00     $157,086,376.00    2021     11 Avenue de LaFayette                       Boston          MA           02111-1746
16021   Elders Action Network, Inc                                     $168,897.00        $185,966.00     2021     9012 Willage View Drive                      San Jose        CA           95135
14509   Election Administration Resource                             $1,244,215.00       $1,329,356.00    2021     209 Cashwell Dr.                             Goldsboro       NC           27534
        Center dba Ranked Choice Voting
        Resource Center
14927   ELECTRI International-The                                    $1,993,045.00       $2,895,459.00    2021     1201 Pennsylvania                            Washington      DC           20004
        Foundation for Electrical                                                                                  Avenue, NW, 12th Floor
        Construction, Inc.
5029    Electronic Frontier Foundation, Inc.                        $16,647,324.00      $17,692,904.00    2020     815 Eddy Street                              San Francisco   CA           94109
14156   Elevance Health Cares, Inc.                                  $1,406,971.00       $1,425,402.00    2021     220 Virginia Avenue                          Indianapolis    IN           46204
15140   Elevate Dance Ministry Inc                                      $39,585.00        $187,056.00     2021     2609 Merriwood Drive                         Louisville      KY           40299
4805    Elim Christian Services                                      $5,507,745.00      $26,095,646.00    2020     13020 S Central Avenue                       Palos Heights   IL           60463-2410
788     Elizabeth Glaser Pediatric AIDS                            $187,361,873.00     $187,687,168.00    2021     1350 I St NW, Suite 400                      Washington      DC           20005
        Foundation
1032    Elizabethtown Country Club                                     $661,384.00       $1,019,013.00    2020     2606 Hodgenville Road                        Elizabethtown   KY           42701
310     Elizabethtown Hardin County                                     $73,600.00        $418,458.00     2021     111 W. Dixie Avenue                          Elizabethtown   KY           42701
        Chamber of Commerce
2832    Elizabethtown Hardin County                                           $0.00             $0.00     2020     209 W. Dixie Avenue                          Elizabethtown   KY           42701
        Heritage Council
363     Elizabethtown Lodge #40 FOP                                     $38,445.00        $147,224.00     2021     318 S. Mulberry St.        PO Box 474        Elizabethtown   KY           42702
13703   Elizabethtown Police Foundation, Inc.                           $45,411.00        $104,273.00     2021     PO Box 1231                                  Elizabethtown   KY           42701
14707   Elizabethtown Volleyball Academy,                                   $900.00       $148,212.00     2021     115 Jersey Court                             Elizabethtown   KY           42701
        Inc.
3292    Elsie Publishing Institute                                   $1,361,987.00       $1,412,061.00    2021     PO Box 811                                   East Lansing    MI           48826
15514   Elton John Aids Foundation, Inc.                             $8,428,487.00       $8,532,376.00    2021     584 Broadway, Suite 906                      New York        NY           10012

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                                             Current Non-Profit Entities Filing IRS Tax Form 990 with the Attorney General
                                                                       Updated:     3/6/2023
 ID                      Name                         DBA              Contributions           Revenue           Yr Last         Address 1                   Address 2               City          State       Zip
                                                                                                                  Filed
3057    GLAAD, Inc.                                                       $24,783,106.00       $24,855,418.00     2020     104 West 29th Street,      Suite 1500              New York        NY           10001
                                                                                                                           4th Floor
11626   Glacier National Park Conservancy                                  $3,388,190.00        $2,528,080.00     2021     P.O. Box 2749                                      Columbia Falls MT            59912
15733   GLAD House, Inc.                                                     $537,364.00          $751,797.00     2020     1994 Madison Road                                  Cincinnati      OH           45208
13827   Glasgow Barren County Chamber of                                      $96,607.00          $216,951.00     2021     126 East Public Square                             Glasgow         KY           42141
        Commerce                                                                                                           #101
14574   Gleanings Husing Inc                                                  $54,240.00           $54,240.00     2021     286 Malabu Court                                   Lexington       KY           40502
6816    Glenmary Sisters Charitable Trust                                            $0.00          $9,180.00     2021     PO Box 22264                                       Owensboro       KY           42304
14565   Global Down Syndrome Foundation                                    $3,206,849.00        $3,228,128.00     2021     3239 E. 2nd Avenue                                 Denver          CO           80206
7415    Global FoodBanking Network                                        $16,402,606.00       $16,426,499.00     2021     70 E. Lake Street          Suite 1200              Chicago         IL           60601
11508   Global Foundation For Peroxisomal                                    $688,588.00          $685,552.00     2021     5272 S Lewis Ave, Suite                            Tulsa           OK           74105
        Disorders                                                                                                          207
5803    Global Fund for Children                                           $6,116,731.00        $6,479,849.00     2020     1411 K Street              1200                    Washington      DC           20005
2663    Global Fund for Women, Inc.                                       $66,462,115.00       $69,663,724.00     2020     800 Market Street 7th                              San Francisco   CA           94102-3034
                                                                                                                           Floor
12259   Global Game Changers Children's                                    $1,098,159.00        $1,115,463.00     2021     201 East Main St           Suite 104               Louisville      KY           40202
        Education Initiative, Inc
4382    Global Giving Foundation, Inc.                                    $93,619,611.00       $98,059,515.00     2021     1 Thomas Circle                                    Washington      DC           20005
16184   GLOBAL GLIMPSE                                                     $1,707,355.00        $1,833,616.00     2020     490 LAKE PARK AVE          #16039                  OAKLAND         CA           94610
3633    Global Hunger Project                The Hunger Project           $18,310,052.00       $18,515,873.00     2021     110 West 30th Street,                              New York        NY           10001
                                                                                                                           6th Floor
466     Global Impact                                                      $5,589,150.00       $66,243,974.00     2020     1199 North Fairfax St.,                            Alexandria      VA           22314
                                                                                                                           Ste. 300
7902    Global Media Outreach                                             $11,244,241.00       $10,772,558.00     2021     7160 N. Dallas Pkwy        Suite 200               Plano           TX           75024
9613    Global Mother Divine Org             TM Program For                  $160,579.00          $360,450.00     2020     1770 Brahmanand                                    Fairfield       IA           52556-9102
                                             Women Professional                                                            Sarawati Blvd
16048   Global Nerve Foundation                                                      $0.00              $0.00     2021     PO BOX 10291                                       Gaithersburg    MD           20888
5017    Global Operations and Development    Giving Children Hope         $29,863,630.00       $30,512,149.00     2020     8332 Commonwealth                                  Buena Park      CA           90621
                                                                                                                           Avenue
5021    Global Partners In Care              Global Partners In Care         $561,020.00          $561,020.00     2021     501 Comfort Plaza                                  Mishawaka       IN           46545
15321   Global Peace Alliance Inc                                                 $5,000.00         $5,000.00     2021     1537 Bull Lea Road                                 Lexington       KY           40511
7889    Global Poverty Project, Inc.         Global Citizen               $70,290,330.00       $91,596,868.00     2021     740 Broadway, Suite 400                            New York        NY           10003
9778    Global Sanctuary for Elephants                                     $1,184,092.00        $1,190,194.00     2020     9010 Hood Place            PO Box 2426             Brentwood       TN           37024
6480    Global Service Network, Inc.                                       $9,315,577.00        $9,338,562.00     2021     PO Box 1809                                        Apex            NC           27502
12735   Global Shema Initiative Inc.                                         $158,623.00          $158,623.00     2020     115 Warren Pass                                    Georgetown      KY           40324
2771    Global Volunteers                                                  $1,579,657.00        $1,579,657.00     2020     375 E Little Canada Road                           St. Paul        MN           55117
14689   Global Water Center                                                $9,494,426.00        $9,519,858.00     2020     1150 Molly Greene Way,                             North           SC           29405
                                                                                                                           Building 1605                                      Charleston
12837   Global Wildlife Conservation                                      $36,820,053.00       $37,346,645.00     2020     PO Box 129                                         Austin          TX           78767
12163   Global Zero                                                        $1,263,331.00        $1,263,560.00     2021     1835 7th Street NW         #105                    Washington      DC           20001
2680    GLSEN, Inc.                                                        $9,061,885.00        $9,169,692.00     2020     110 William Street         30th Floor              New York        NY           10038
12686   Glut1 Deficiency Foundation, Inc.                                    $739,064.00          $776,976.00     2022     PO Box 737                                         Owingsville     KY           40360
3868    Gluten Intolerance Group of North                                     $41,456.00        $5,074,297.00     2021     31214 124th Avenue SE                              Auburn          WA           98092
        America
8471    Go-Hire Employment and                                            $38,609,085.00       $38,687,303.00     2021     PO Box 1238                                        Hazard          KY           41702
        Development
9124    Go2 Foundation for Lung Cancer                                    $13,741,503.00       $13,798,666.00     2021     2033 K Street NW                                   Washington      DC           20006
13016   God's Love We Deliver, Inc.                                       $26,600,097.00       $31,954,501.00     2020     166 Avenue of the                                  New York        NY           10013
                                                                                                                           Americas
14305   God's Not Dead Foundation                                             $35,906.00       ($1,312,838.00)    2021     15333 North Pima Rd        Ste 305                 Scottsdale      AZ           85260
10842   God's Outreach Madison County Food                                   $691,774.00          $691,973.00     2021     PO Box 1226                                        Richmond        KY           40476
        Bank
2814    Gods Outreach, Inc.                                                  $106,697.00          $106,697.00     2021     521 E 4th Street                                   Owensboro       KY           42303
390     Gods Pantry Food Bank, Inc                                        $62,047,381.00       $63,304,764.00     2021     1685 Jaggie Fox Way                                Lexington       KY           40511
11407   Gods Pit Crew, Inc.                                               $13,643,981.00       $13,718,268.00     2021     2499 North Main St.                                Danville        VA           24540
14124   Godspeed, Inc.                                                               $0.00              $0.00     2022     6277 Cranston Road                                 Morehead        KY           40351
13613   GOFUNDME.org                                                      $15,280,142.00       $15,280,142.00     2020     8605 Santa Monica                                  West            CA           90069
                                                                                                                           Boulevard, #88639                                  Hollywood
5752    Golden Retriever Rescue & Adoption                                   $213,603.00          $252,384.00     2021     PO Box 6132                                        Louisville      KY           40206-0132
        of Needy Dogs
16046   Goldens Without Borders Inc                                          $222,162.00          $325,200.00     2021     11700 W. Charleston                                Las Vegas       NV           89134
                                                                                                                           Blvd
3315    Goldman Sachs Philanthropy Fund                                 $2,125,065,135.00 $2,555,591,623.00       2021     200 West St.               15th Floor              New York        NY           10282
15687   Golestan Foundation A NJ Nonprofit                                   $271,987.00          $271,990.00     2020     17610 Woodinville                                  Woodinville     WA           98072
        Organization                                                                                                       Snohom Rd NE 2637
13127   Gonzaga Law School Foundation                                      $1,883,385.00        $3,337,300.00     2020     PO BOX 3528                Janet Chudomelka 1808   Spokane         WA           99220
                                                                                                                                                      Aston Ave, Ste 230
                                                                                                                                                      Carlsbad,
3586    Good News Communications Inc.                                      $2,089,871.00        $2,339,141.00     2020     4073 Mission Oaks Blvd.                            Camarillo       CA           93012
11198   Good Sports, Inc.                                                 $17,365,260.00       $17,640,081.00     2021     1515 Washington Street                             Braintree       MA           02184
                                                                                                                           Suite 300
5139    Good360                                                         $1,676,252,768.00 $1,689,563,175.00       2021     675 North Washington       Suite 330               Alexandria      VA           22314
                                                                                                                           Street
16156   GoodCoin Giving Fund                                                         $0.00              $0.00     2021     PO BOX 21770                                       Charleston      SC           29413


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